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IN THE.UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA 27 CRIMINAL NO.
v.

NATALIA BURLINOVA, - |: VIOLATIONS:

-also known as’ -

Natalya Burlinova, : 18 U.S.C. § 371

: (Conspiracy to Act as an Illegal
- Defendant. : Agent of a Foreign Government) —
18 U.S.C. § 951

(Acting as an Illegal Agent of a
- Foreign Government)
INDICTMENT

The Grand Jury charges that:
7 COUNT ONE

At all times material to this Indictment:
1... Natalia Burlinova (also known as Natalya Burlinova) (“‘Burlinova”) was a national _
_ of the Russian Federation (“Russia”). Burlinova was the founder and President of a Russian
organization named “Public Initiative ‘Creative Diplomacy” (“PICREADI”). Burlinova’s prior
employment experience included work for a Russian state-owned domestic news agency and a
Russian research institute founded by a former President of Russia.

2. PICREADI publicly presented itself as “one of the leading Russian organizations
on public diplomacy” and as-“[dJevoted to the Russian national interests and to the idea that [the]
"Russian voice should be heard.” PICREADI publicly described. itself as a non-governmental

organization that was funded by grants from the Russian government, including from the

 
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. Presidential Grant Foundation and the Russian National Charity Fund. PICREADI also publicly
described itself as operating an independent academic research center.

3. “Meeting Russia” was a public diplomacy program operated by PICREADI from
at least 2017 through 2021. Meeting Russia was a three-day program held in Moscow each year

during which young leaders from the United States and Europe met with senior Russian

government officials and other Russian leaders. United States citizens participated in the Meeting

Russia programs in Moscow from at least 2017 through 2021 in person and, in some instances, by
video conference. PICREADI paid for the lodging and accommodations of Meeting Russia
participants and in some cases reimbursed participants for all or a portion of their travel costs.

4. “Public diplomacy” is a term of art that refers to the means by which a sovereign
country communicates with the public in other countries in order to inform and influence foreign
audiences for the purpose of promoting the country’s national interests and advancing its foreign
policy goals.

5. The Federal Security Service (“FSB”) Officer is a citizen of Russia who resided in

Moscow, Russia and was employed by the FSB. The FSB was Russia’s internal security and

counterintelligence service, headquartered on Lubyanka- Square in Moscow, Russia. The FSB -

implemented Russia’s national security policies, including in the areas of counterintelligence,
counterterrorism, and internal security.

6. Neither Burlinova nor the FSB Officer were (a) a duly accredited diplomatic or
consular officer or attaché;.(b) an officially and publicly acknowledged and sponsored official or
representative of the Russian Federation; or (c) an officially and publicly acknowledged and
sponsored Staff member or employee thereof.

7. At no time did Burlinova notify the Attorney General, whose office is located in

the District of Columbia, that Burlinova would and did act in the United States as an agent of a
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foreign government.
The Conspiracy
. 8. Beginning no later than in or around February 2015, and continuing until at least in

or around July 2021, in the District of Columbia and elsewhere, Burlinova, the FSB Officer, and

- others known and unknown to the grand jury knowingly and intentionally did combine, conspire,

confederate, and agree with each other to commit an offense against the United States, to wit, to

violate Title 18, United States Code, Section 951, in violation of Title 18, United States Code,

Section 371. .

-9. _. The object of the conspiracy was for Burlinova to knowingly act in the United

States as an agent of a foreign government and foreign official; specifically Russia and the FSB

. Officer, without providing notification to the Attorney General. .

10. Burlinova, the FSB Officer, and their co-conspirators would and did use the

_ following manner and means, among others, to accomplish the object of the conspiracy:

a. Burlinova agreed to operate within the United States subject to the direction and
control of Russia and the FSB Officer, and did so when she traveled from Russia .
to the United States to recruit US. citizens for participation in the Meeting
Russia programs;

b. The FSB Officer provided funding for Burlinova’s recruitment efforts on behalf
of the FSB; .

c. Burlinova provided information to the FSB Officer about the U.S. citizens whom

- Burlinova was attempting to recruit for participation in the Meeting Russia
programs, including biographical information, personal identifying information,

photographs, and political opinions;
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d. At the request of the FSB Officer, Burlinova provided the FSB Officer with
information about Burlinova’s recruitment efforts to include in FSB reports that
the FSB Officer prepared;

e. Burlinova and the ‘FSB Officer monitored the career developments of the
recruited U.S. citizen participants in the Meeting Russia programs, with the aim

’ that some of them would become influential public figures with views
sympathetic to Russian national interests; and

f. Burlinova and the FSB Officer met in person and communicated via electronic
means for the purpose of developing a plan to influence the opinions of future
leaders in the United States on behalf of the Russian government.

11. In furtherance of this conspiracy, and to accomplish its purpose and object, at least
~ one of the conspirators committed or caused to be commitied, in the District of Columbia and -
elsewhere, at least one of the following overt acts, among others:
a. In or around February 2015, Burlinova informed the FSB Officer of Burlinova’ So
desire to attend conferences in the United States in order to advocate for Russian

interests.

b. On or about February 18, 2015, the FSB Officer informed Burlinova that from
his position he could help send Burlinova to the United States. The FSB Officer
specified that Burlinova would need to propose a list of American experts and
specialists with whom Burlinova intended to meet during her travel. The FSB
Officer also instructed Burlinova that her proposal for travel to the United States
should specify that the purpose of the travel would be for Burlinova to establish
and develop relationships with American experts, policymakers, journalists, and

activists. The FSB Officer told Burlinova that it would be easy to get funding
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for her travel if she were to plan to contact American experts with specific ties.
to information platforms. .

c. On or about March 7, 2015, the FSB Officer provided Burlinova with a list of
individuals associated with U.S. universities and foreign policy institutes. The
FSB Officer instructed Burlinova to study the publications and activities of the
people on his list, so that the FSB Officer and Burlinova could discuss the
possibility of Burlinova reaching out to them.

d. On or about April 3, 2015, the FSB Officer referred Burlinova to prominent
scholars at U.S. universities, noting that they were influential and well-known
and could recommend students to study in Russia.

e. On or about May 13, 2015, the FSB Officer provided Burlinova with a long list
of assignments, including for Burlinova to provide the FSB Officer with
information about her contacts and meetings and her efforts to organize
conferences and trips to Moscow by American leaders.

f. In or around December 2016, Burlinova and the FSB Officer exchanged e-mail
messages discussing the participants in the upcoming 2017 Meeting Russia
program in Moscow, which was scheduled for February 2017. The discussions
included information about U.S. citizens who would participate in the program. .
The .FSB Officer informed Burlinova that he would need copies of the .
participants’ passports for verification.

g. On or about January 8, 2017, Burlinova asked the FSB Officer for assistance
obtaining visas for the participants in the upcoming 2017 Meeting Russia

program. Also in or around January 2017, Burlinova and the FSB Officer —
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evaluated the resumes of potential participants in the upcoming 2017 Meeting

Russia program to identify interesting candidates,
‘h.. From on or about February 16 through on or about February 18, 201 7, Burlinova

hosted the 2017 Meeting Russia program in Moscow. U.S. citizens traveled to
_Russia to participate in the program. During the program, the participants visited
the Russian Ministry of Defense, Ministry of State, and Ministry of Foreign
Affairs. One participant was asked and agreed to participate in an interview for
a Russian news station regarding her participation in the’ Meeting Russia
program. One speaker at the event was a former accused Russian intelligence
agent who had operated in the United States until 2010, when the speaker was
arrested in the United States. and later released as part of a prisoner exchange
between the United States and Russia.

i. On or about February 16, 2017, Burlinova provided the FSB Officer with a
summary of her ‘initial impressions and observations of the U.S. citizen
participants and their views towards Russia. Burlinova stated to the F SB Officer
that she would provide a full report after the Meeting Russia program ended.

j. On or about November 9, 2017, Burlinova provided information to the FSB
Officer about U.S. citizen patticipants in the 20 17 Meeting Russia program who,
in Burlinova’s view, had positive attitudes towards Russia and were prepared to
continue to collaborate. -

k. In or around February 201 8, Burlinova provided information to the FSB Officer

"about the upcoming 2018 Meetinig Russia program; scheduled for the following
month, including information about the budget for the program and the expected

participants, including their passport information. The FSB Officer claimed to

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have utilized the participant passport information to facilitate the granting of
visas to Meeting Russia participants.

1. From on or about March 16 through on or about March 18, 2018, Burlinova
hosted the 2018 Meeting Russia program in Moscow. U.S. citizens traveled to
Russia to participate in the program, during which presenters asked some U.S.
citizens to encourage others to attend future Meeting Russian events. Some
participants later described the program as pushing a pro-Russian agenda and as
being in part designed to identify U.S. participants who might later serve in the
U.S. government.

m. On or about October 5, 2018, Burlinova informed the FSB Officer about two

prior participants in another Russian public diplomacy program in which
Burlinova had been involved. Burlinova reported that the two prior participants,
both of whom resided in a European country, were running for public office.
Burlinova stated that these were the results that take years to come into fruition.
The FSB Officer responded that this was truly the result for which they were
striving and requested that Burlinova provide more information about these prior

participants and the election for public office so that the FSB Officer could

prepare a report. The two candidates ran for parliamentary positions; one won ~~

in that election, and the other was elected subsequently to parliament,
n: On or about October 6, 2018, Burlinova transmitted to ‘the FSB Officer an
. academic paper studying the role of Russian intelligence services and Russian .
institutions of soft power in the design and implementation of the present-day
strategies of knowledge weaponization and ideological subversion. The paper

characterized PICREADI as a Russian ideological subversion agency with
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characteristics of a government-sponsored non-governmental organization.
Butlinova then commented to the FSB Officer that some in Washington viewed
PICREADI as just a handshake away from Russian President Viadimir Putin.

‘o. In or around October 2018, the FSB Officer told Burlinova that he needed to
meet with her, that he had decided on the plans, that he was evaluating her
funding, and that he needed materials from her that were necessary to include in.
his reports.

p. On or about October 28, 2018, Burlinova informed the FSB Officer that she
needed extra money for her upcoming travel to the United States, where she
intended to have many meetings over two weeks. Burlinova stated that grant
money alone would not allow her to stay in the United States for as long as she
intended. The FSB Officer replied the following day that he would discuss the
issue and that most likely it would work out.

q- On or about October 31, 2018, the FSB Officer informed Burlinova that the
decision had been made and that 150,000 rubles had been ordered. .

r. On or about October 31 , 2018, Burlinova was issued a visa to travel to the United
States for business/tourism purposes. In her visa application submitted earlier
that month, Burlinova had informed U.S. authorities that.she planned to travel
to the United States from November 12-26, 2018, and to visit a named U.S.

"university. The visa application stated that PICREADI was paying for her travel,
and did not include any information about FSB funding.

s. Also on or about October 31, 2018, a Russian national working on behalf of
PICREADI sent an e-mail message, copying Burlinova, to an individual at aU.s.

university that stated, among things:
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[N]atalia Burlinova and I represent Creative Diplomacy, a Moscow-based
-- NGO [non-governmental organization] specializing in public diplomacy
research, training, and events. We are visting New York, D.C., and Boston
. this November with two main goals: 1) to promote Meeting Russia, a 3-day
program on Russia’s foreign policy for young professionals . . . [and] 2) to
introduce the work of [PICREADI] more generally... .

t. On or about November 12, 2018, Burlinova traveled by air to the United States,
landing at Dulles International Airport in Virginia. Burlinova traveled with
another Russian national who was working on behalf of PICREADI.

u. On or about November 15, 2018, Burlinova provided to the FSB Officer a list of
individuals and organizations she expected to meet with on her upcoming trip to
the United States.

Vv. From on or about November 12 through on or about November 26, 2018,
Burlinova and the other Russian national working on behalf of PICREADI
attended meetings at several U.S. universities and other organizations in an effort
to recruit participants for the 2019 Meeting Russia program. The meetings

_ occurred on or about at least November 14, 15, and 16, 2018, in at least two
different metropolitan areas in the United States. Participants in the meetings
sent emails to Burlinova after the meetings, expressing interest for themselves :
or others in the upcoming 2019 Meeting Russia program.

w. On or about November 15, 2018, while Burlinova was in the United States, the
FSB Officer reminded Burlinova that they had agreed to announce her trip to the
United States, and he asked for a sample program and information on each
person or institution with which Burlinova was meeting.

x. On or about November 15, 2018, Burlinova sent to the FSB Officer several
photographs of her meetings with U.S, citizens at the U.S. universities and

updated him on her various meetings in the United States.

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y.

On or about November 23, 2018, while in the United States, Burlinova asked the
FSB Officer if he needed anything from her before the end of the week. The
FSB Officer responded that he hoped that everything was going according to
schedule and that she could provide details of her trip to him soon. .
On or about November 29, 2018, the FSB Officer reminded Burlinova that she
had agreed to provide information to him summarizing the results of the trip.
Burlinova replied that she had sent the materials to him in a “secret chat” using
an encrypted messaging application. Burlinova also provided to the FSB Officer
using electronic communications over 60 photographs of her meetings at the |

U.S. universities earlier that month.

. On or about November 30, 2018, the FSB Officer told Burlinova that he was still

processing all of the information that she had provided and expressed great

satisfaction with Burlinova’s activities in the United States.

bb. On or about January 21, 2019, around two months before the scheduled 2019

ce.

Meeting Russia program, the FSB Officer asked Burlinova if he and she would
be meeting soon to plan the event. Burlinova responded that she would send to
the FSB Officer the list of participants so that he could look and check it. The
FSB Officer later informed Burlinova that he had reviewed the list and sent it
for verification and commended Burlinova for choosing a better set of

participants this year.

On or about January 30, 2019, Burlinova asked the FSB Officer for feedback on

the list of participants for the upcoming 2019 Meeting Russia program. The FSB
Officer responded that everything was excellent and that no one had any

problems with the list of participants.

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dd: On or about February 13, 2019, the FSB Officer instructed Burlinova to request
passports from the Meeting Russia participants for their visas and said ‘that he. |
would check on the status of the visas.

ee. On or about March 20, 2019, Burlinova sent to the FSB Officer the final list of

participants and the agenda for the 2019 Meeting Russia pro gram.

ff. From on or about March 28 through on or about March 30, 2019, the 2019
Meeting Russia program was held in Moscow. U.S. citizens traveled to Russia
to participate in the program.

ag. On or about April 1, 2019, the FSB Officer told Burlinova that he had nearly |
finished his report of the 2019 Meeting Russia program and requested that she
describe to him the reactions of the participants and the prospects of further work
with them. .

hh. On or about April 16, 2019, Burlinova sent a message to the FSB Officer stating

"that she would be near Lubyanka Square (where the FSB’s headquarters was
_ located) the next day arid offering to meet. The FSB Officer asked Burlinova if
she had written what they had agreed, stating that this was very important and
requesting that no one see the report that she was writing since that could lead

to questions about why she was doing that.

ii. Onor about May 17, 2019, the FSB Officer asked Burlinova to send to him some
information on Burlinova’s activities because his reports were due every Friday.

jj. On or about May 28, 2019, the FSB Officer requested that he and Burlinova

meet with the FSB Officer’s boss, who had a proposal to discuss with the FSB _
Officer and Burlinova. Burlinova asked how dangerous this would be for her

and if this would threaten her in any way. The FSB Officer replied that he trusts

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his boss, that he and his boss had been working together for a long time, and that
his boss would defend their interests before the higher leadership. —
kk. On or about October 30, 2020, the FSB Officer forwarded to Burlinova an article
_ Written by a participant in the 2019 Meeting Russia program, which argued that
Russian malign influence efforts were actually legitimate uses of state soft
power. The FSB Officer commented to Burlinova that the article was a huge
result for them and would be revolutionary if printed by a named English-
language newspaper in the ‘United States and a named English-language
newspaper in Europe.
ll. Burlinova and the FSB Officer continued to communicate throughout 2020 and
at least into 2021 . Onor about July 2, 2021, the FSB Officer stated to Burlinova
that they were working together to change the rhetoric of the West.

(Conspiracy to Act as an Illegal Agent of a Foreign Government, in violation of Title 18,
United States Code, Section 371; Title 18, United States Code, Section 991 )

COUNT TWO
12. The allegations i in Paragraphs 1 through 11 of this Indictment are incorporated and
realleged here by reference.
13. Between i in or around November 12, 2018, and November 26, 2018, i in the District
‘of Columbia and elsewhere, Burlinova knowingly acted i in the United States as an agent of a
foreign government, specifically Russia, and a foreign official, specifically the FSB Officer,
without providing notification to the Attomey General as required by law.

(Acting as an Illegal Agent of a Foreign Government i in violation of Title 18, United States
Code, Section 951.)

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_ Attorney of the Unite
. and for the District of Columbia

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